          USCA Case #25-5067
                               UNITED STATES COURT OF Filed:
                                   Document #2105931
                                                       APPEALS
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                                DISTRICT OF COLUMBIA CIRCUIT
                                             333 Constitution Avenue, NW
                                              Washington, DC 20001-2866
                                     Phone: 202-216-7000 | Facsimile: 202-219-8530



 Case Caption: J.G.G. et al.

                                           v.                             Case No: 25-5067
                    Trump et al.


                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as          Retained      Pro Bono        Appointed (CJA/FPD)          Gov't counsel
for the     Appellant(s)/Petitioner(s)      Appellee(s)/Respondent(s)         Intervenor(s)     Amicus Curiae below:

                                                 Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 J.G.G.                                                         J.A.V.

 G.F.F.

 J.G.O.

 W.G.H.

                                                Counsel Information
Lead Counsel: Sarah M. Rich

                                                                     Email: srich@democracyforward.org
Direct Phone: ( 202 )     274-7652       Fax: ( 202 )   796-4426

2nd Counsel:     Bradley Girard

                                                                     Email: bgirard@democracyforward.org
Direct Phone: ( 201 )     824-1304       Fax: ( 202 )   796-4426

3rd Counsel: Michael Waldman

                                                                     Email: mwaldman@democracyforward.org
Direct Phone: ( 202 )     573-7937       Fax: ( 202 )   796-4426

Firm Name:       Democracy Forward Foundation

Firm Address: P.O. Box 34553, Washington, D.C. 20043

                                                                     Email:
Firm Phone: ( 202 )       448-9090       Fax: ( 202 )   796-4426

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
